                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


LEONITUS JABIR BEY,                                 C.A. NO.: 19-10219- PBS
     Plaintiff,

v.

DAVID PENDER,
     Defendant

                 DEFENDANT DAVID PENDER’S SUPPLEMENTATION
                   TO THE MOTION IN LIMINE (DOCKET NO. 47)
                    TO PROHIBIT THE PRO SE PLAINTIFF FROM
                      ARGUMENT OR HIS OWN TESTIMONY
                  FROM MENTIONING ANY PRIOR DISCIPLINE OR
                  CRIMINAL CHARGES AGAINST THE DEFENDANT

       By motion of the court dated June 24, 2021, the defendant supplements the motion in

limine #47) with the attached exhibits evidencing prior disciplinary matters involving the

defendant (Exhibits 1, 2 and 3).

       The documents were received from the City of Lowell on June 29, 2021.

       Exhibit 1 details the disciplinary matter involving complaints of violating internal Police

Department Rules and Regulation against the defendant and other officers regarding an incident

which occurred on October 26 and 27, 1998 on a union trip to Boston. The defendant was

suspended by the Lowell Police Department for a period of one year. That suspension was

reduced to six months by the Civil Service Commission by order of January 16, 2001 (PDF

pages 3-40). On page 33 of the PDF, the Civil Service Commission states that Pender was

charged with a number of violations of the Lowell Police Departments Rules & Regulations,

including verbally assaulting a female officer with profanity, and gender related and sexual

harassing remarks, and that Officer Pender was not totally honest when answering questions that



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were being asked by Internal Affairs. They found discipline warranted but reduced the one-year

suspension to six months.

           Exhibit 2 involves an incident involving a domestic assault and battery on January 1,

2013 between the defendant and his wife in which he was arrested for assault and battery. 1 (PDF

page 24)

           The criminal charges were dismissed (see report PDF page 24). The suspension imposed

by the City of Lowell (PDF page 12) dated January 28, 2014 was for six months with the six-

month suspension conditionally suspended with 10 punishment days.

           Exhibit 3 details a disciplinary matter regarding a charge of unnecessary force occurring

on September 15, 2016 involving a student at a school in Lowell where the defendant was the

school resource officer. The investigation report begins on PDF page 3. The defendant was

found to have slapped and put his hand on the neck of an unruly student.

           The discipline for this matter is contained in Exhibit 2 (PDF page 38) which is dated

January 24, 2017 imposing a suspension of six months for which all but 90 days was suspended.

                                                        The Defendant,

                                                         By his attorney,

                                                          /s/Bradford N. Louison
                                                         _____________________________
                                                         Bradford N. Louison, Esq. BBO#305755
                                                         blouison@lccplaw.com
                                                         Louison, Costello, Condon & Pfaff, LLP
                                                         101 Summer Street
                                                         Boston, MA 02110
                                                         (617) 439-0305
Date: June 30, 2021




1
    Exhibit 2 has some additional documents in it relating to the 1998 incident.

                                                            2
                                CERTIFICATE OF SERVICE

        I hereby certify that on this day, I caused the foregoing to be served by ECF upon the pro

se plaintiff:

                                            Leonitus Jabir Bey
                                             P.O. Box 1934
                                           Lowell, Mass 01854


                                                      /s/Bradford N. Louison

                                                     Bradford N. Louison

Dated: June 30, 2021




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